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             EXHIBIT B
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                                                                    Via E-Mail to: kimberley.leaman@sidley.com
                                                                                          akirtley@cpmlegal.com
 Jeffrey M. Gutkin
 T: +1 415 693 2026
 jgutkin@cooley.com


November 16, 2022

Kimberley Leaman
Sidley Austin LLP
1501 K Street, N.W.
Washington, D.C. 20005

Andrew Kirtley
Cotchett Pitre & McCarthy LLP
San Francisco Airport Office Center
840 Malcolm Road
Suite 200
Burlingame, CA 94010


Re:     In re Google RTB Consumer Privacy Litigation, No. 5:21-cv-02155-YGR-VKD – Xandr’s
        Proposed Supplemental Protective Order


Ms. Leaman and Mr. Kirtley,

We have now had time to evaluate these issues further, and we write to follow up on our discussions
regarding the supplemental protective order that Xandr has requested the Parties agree to here. While we
have not seen the documents that Xandr has agreed to produce, based on our conversations and Xandr’s
high-level descriptions of these materials, we do not believe they are responsive to this litigation, including
because they were produced in a separate antitrust matter concerning Google’s Search product. See
United States v. Google LLC, No. 1:20-cv-03010 (D.D.C.); Colorado v. Google LLC, No. 1:20-cv-03715
(D.D.C.).

In light of this, we do not think the proposed supplemental protective order is necessary or appropriate here.
Indeed, that protective order would be prejudicial to our client and would impair our ability to provide them
with legal advice, as it would deprive Google’s in-house counsel of access to third-party documents
produced in a civil litigation on the premise that these documents had different protections in an unrelated
regulatory action. This is particularly problematic as our understanding is that you propose to have Xandr’s
entire second production in response to the subpoena designated as “XANDR CONFIDENTIAL - OUTSIDE
COUNSEL ONLY.”

To the extent you believe otherwise, we will need to review the documents or receive a detailed explanation
of what these documents are and how they are relevant to this suit before we can further consider whether
to change our position.




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Kimberley Leaman
Andrew Kirtley
November 11, 2022
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We are available to confer further on this, as needed, but to be clear, Google will not agree to the proposed
protective order previously circulated and reserves all rights to object to and seek court intervention
regarding the production by Xandr of documents that the Court has already deemed to be outside the scope
of this litigation. Please apprise us of your plans for next steps.




Thank you.

Sincerely,




Jeffrey M. Gutkin




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